
*LYONS J.
The court are of opinion that the bail piece was sufficient, and must have been so considered if it had been objected to, at the time it was offered. The clerk therefore mistook the law when he rejected it, and entered a plea for the sheriff. That court might, and most certainly would, have corrected this mistake at any time, if it had been moved to do so. But the party was ill advised when instead of doing this, he applied for a supersedeas to the judgment, since the record furnished a Superior Court with no ground for an interference.
However, we are fully satisfied upon the equity of this case. A more complete sur-prize can hardly be conceived. It would be strange if an accident so mischievous as this in its effects, were beyond the reach of that court, whose peculiar province it is to grant relief in such cases. The negligence with which the appellee is charged, is fully excused by the agreement of the counsel, and the mistake which followed; and therefore cannot be urged as a ground for denying the relief which has been extended to him.
The decree must be affirmed.
